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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                       MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                        Case No. C-07-5944 JST

                                   9                                                        CLARIFICATION RE ORDER RE
                                        This Order Relates To:                              OBJECTIONS TO EX PARTE
                                  10                                                        COMMUNICATIONS AND IN
                                                                                            CAMERA REVIEW OF BILLING
                                  11    ALL INDIRECT PURCHASER ACTIONS                      RECORDS
                                  12
Northern District of California
 United States District Court




                                  13          The Court issued an order regarding an objection filed by Objectors Cooper and

                                  14   Scarpulla’s regarding ex parte communications and in camera review of billing records related to

                                  15   the Special Master’s Report and Recommendation. ECF No. 4508. Lead Counsel has asked for

                                  16   clarification as to whether they should provide access to all of the billing records provided to the

                                  17   Special Master or whether they need only provide access to those records that the Special Master

                                  18   actually reviewed. ECF No. 4520. Lead Counsel is ORDERED to provide access to all the

                                  19   records.

                                  20          IT IS SO ORDERED.

                                  21   Dated: March 25, 2016
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                                                                                                      JON S. TIGAR
                                  23                                                            United States District Judge

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